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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

MARIE DURAN and
ISAAC GRANADO,

        Plaintiff,

v.                                                                          No. 24-cv-0314 JHR/DLM

XAVIER ANAYA,
CHRISTOPHER RIDER,
and THE CITY OF ARTESIA

        Defendant.
                                           ORDER TO SHOW CAUSE
        THIS MATTER is before the Court sua sponte following Plaintiff’s Unopposed Motion to

Substitute Party, filed on August 30, 2024, [Doc. 23], and the Court’s order granting that motion to substitute

Genevieve Granado Grado for Isaac Granado, filed on September 5, 2024 [Doc. 25]. The motion to

substitute party represented “Isaac passed away during this action’s pendency. Geneveve [sic] is Isaac’s

mother and has been appointed his personal representative by the probate court in Eddy County, New

Mexico.” [Doc. 23, at 1]. The Court granted Plaintiff’s motion based on the representation that Genevieve

Granado Grado had been appointed personal representative. [Doc. 25]. Plaintiff did not attach the probate

court’s order appointing personal representative to the motion to substitute.

        The Court then become aware that the probate court’s Order Appointing Personal Representative

was filed on October 4, 2024, in the 5th Judicial District Court. (D-503-PB-2024-00070) (“Order

Appointing Personal Representative”). Thus, the probate court appointed Ms. Granado Grado personal

representative after the motion to substitute party. Compare [Doc. 23] (filed Aug. 30, 2024) with (D-503-

PD-2024-00070) (Order Appointing P.R.) (filed October 4, 2024). Therefore, it appears that Plaintiff’s

counsel misrepresented Ms. Granado Grado’s personal representative status when they moved for her

substitution for the deceased Isaac Granado.
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        Rule 11(b)(3) provides that an attorney’s signed and filed written motion certifies that “the factual

contentions [in the motion] have evidentiary support” or “will likely have evidentiary support after a

reasonable opportunity for further investigation” to the best of the attorney’s “knowledge, information, and

belief” based on a reasonably inquiry. Fed. R. Civ. P. 11(b)(3). Regarding sanctions for violating Rule

11(b), Rule 11(c)(3) provides that “[o]n its own initiative, the court may order an attorney, law firm, or

party to show cause why conduct specifically described in the order has not violated Rule 11(b).” Fed. R.

Civ. P. 11(c)(3).

        Pursuant to Rule 11(b)(3) and Rule (11)(c)(3), the Court orders Plaintiff’s counsel to show cause in

writing, signed by both counsel Gubernick and Bullion, why they should not be sanctioned for

misrepresenting a material fact concerning the personal representative appointment in the August 30, 2024,

motion to substitute party [Doc. 23], as shown by the probate court’s October 4, 2024, order.

        IT IS THEREFORE ORDERED that Plaintiff’s counsel Benjamin Gubernick and Todd Bullion

show cause in writing why they should not be sanctioned within 14 days of entry of this Order.

        IT IS SO ORDERED.




                                         ___________________________________
                                         HON. JERRY H. RITTER
                                         UNITED STATES MAGISTRATE JUDGE




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